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FoR THE WESTERN DISTRICT oF TENNESSEE USJUL ,2
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Plaintiff/Counter- 'WLFHB
Dafendant,

v, No. 04-2033 Ml/v
MARDI GRAS zoNE, LLc,

Defendant/Counter-
Plaintiff.

 

ORDER DENYING MARDI GRAS ZONE, LLC'S MOTION FOR SUMMARY JUDGMENT

 

Before the Court is Plaintiff/Counter~Defendant Mardi Gras
Zone, LLC’s Motion for Summary Judgment, filed June 6, 2005.
Defendant/Counter-Plaintiff Ericson Group, Inc. filed a response
in opposition on June 29, 2005. For the following reasons, the
motion is DENIED.

I. BACKGROUND AND RELEVLNT FACTS

The instant case involves a dispute regarding the sale of
bead necklaces by Defendant/Counter-Plaintiff Mardi Gras Zone,
LLC (“MGZ”), a manufacturer of the bead necklacesr to
Plaintiff/Counter-Defendant Ericson Group, Inc. (“Ericson”)r a
retailer of the beads. In its claim against MGZ, Ericson
contends that it entered into a purchase order contract with MGZ
to manufacture and supply bead necklaces, but that the necklaces
provided were defective and that Ericson consequently lost

contracts to supply the necklaces to certain customers. MGZ

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denies Ericson's contentions and further asserts a claim for
payment on an open account for sale of the beads. MGZ's motion
for summary judgment relates to its claim regarding that open
account.

Sometime prior to April of 2003, Ericson contacted MGZ to
place an order for bead necklaces, which Ericson intended to sell
to its retail customers - primarily casinos. From April to
November of 2003, MGZ made shipments of bead necklaces to Ericson
in Memphis, Tennessee, and on at least one occasion to one of
Ericson's customers in Las Vegas, Nevada. MGZ issued and
delivered invoices to Ericson in connection with each of the
shipments. A Statement of Account dated November 3, 2003,
reflects thatr as of that date, $133,242.19 was due on Ericson's
open account with MGZ. (Mem. in Supp. of Mardi Gras Zone, LLC’s
Mot. for Summ. J. on Open Account, Ex. A.}

Ericson contends that all of the merchandise for which
payment is assertedly due on the open account was defective. In
particular, Ericson contends that the colors on the necklaces ran
and stained the clothing of persons wearing them, that the logos
on the necklaces did not meet the parties' specifications, and
that they were delivered late. (See Resp. of Ericson Group, Inc.
in Opp. to Mardi Gras Zone, LLC’s Mot. for Summ. J. on Open

Account at l.}

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II. SUMMARY JUDGMENT STANDARD

Under Federal Rule of Civil Procedure 56(c), summary
judgment is proper “if the pleadings, depositions, answers to
interrogatories, and admissions on file, together with the
affidavits, if any, show that there is no genuine issue as to any
material fact and that the moving party is entitled to judgment
as a matter of law.” Fed. R. Civ. P. 56(0); see also Celotex
Corp. v. Catrett, 477 U.S. 317, 322 (1986). So long as the
movant has met its initial burden of “demonstrat[ing] the absence
of a genuine issue of material fact,” Celotex, 477 U.S. at 323,
and the nonmoving party is unable to make such a showing, summary
judgment is appropriate. Emmons v. McLaudhlin, 874 F.2d 351, 353
(6th Cir. 1989). In considering a motion for summary judgment,
“the evidence as well as all inferences drawn therefrom must be
read in a light most favorable to the party opposing the motion.”

Kochins v. Linden-Alimak Inc., 799 F.2d 1128, 1133 (6th Cir.

 

1986); see also Matsushita Elec. Indus. Co. v. Zenith Radio
QQrp¢, 475 U.S. 574, 587 (1986).

When confronted with a properly-supported motion for summary
judgment, the nonmoving party “must set forth specific facts
showing that there is a genuine issue for trial." Fed. R. Civ.
P. 56(e); see also Abeita v. TransAmerica Mailingsl Inc., 159
F.3d 246, 250 (6th Cir. 1998). A genuine issue of material fact

exists for trial “if the evidence [presented by the nonmoving

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party] is such that a reasonable jury could return a verdict for
the nonmoving party.” Anderson v. Libertv Lobbv, Inc., 477 U.S.
242, 248 (1986). In essence, the inquiry is “whether the
evidence presents a sufficient disagreement to require submission
to a jury or whether it is so one-sided that one party must
prevail as a matter of law.” ldé at 251-52.

III. ANRLYSIS

MGZ moves for summary judgment seeking payment pursuant to
the open account with Ericson and for an award of attorney's fees
pursuant to Louisiana Revised Statutes § 9:2781.1 Ericson
contends that genuine issues of material fact exist regarding
MGZ's claim chiefly due to its contention that the beads supplied
pursuant to the parties’ agreement were defective. Having

reviewed the record and the parties submissions, and drawing all

 

1 Louisiana Revised Statutes § 9:2781(a) provides, in
pertinent part:

When any person fails to pay an open account within
thirty days after the claimant sends written demand
therefor correctly setting forth the amount owed, that
person shall be liable to the claimant for reasonable
attorney fees for the prosecution and collection of
such claim when judgment on the claim is rendered in
favor of the claimant. Citation and service of a
petition shall be deemed written demand for the purpose
of this Section. If the claimant and his attorney have
expressly agreed that the debtor shall be liable for
the claimant's attorney fees in a fixed or determinable
amount, the claimant is entitled to that amount when
judgment on the claim is rendered in favor of the
claimant. Receipt of written demand by the person is
not required.

La. Rev. Stat. 9:2781{a).

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inferences in the light most favorable to Ericson, the non-moving
party, the Court finds that genuine issues of material fact exist
regarding MGZ’s claim and therefore that summary judgment is not
appropriate at this time. In particular, Ericson points to
evidence in the record that the necklaces provided by MGZ were
defective. Such an assertion, if proven true, may counteract
MGZ’s contention that full payment is due on the open account.

Accordingly, MGZ's motion for summary judgment is DENIED.2

So ORDERED this §zth day of July, 2005.

to m‘O.Q§L

J N P. MCCALLA
NITED STATES DISTRICT JUDGE

 

2 Because the Court has denied MGZ's motion for summary
judgment with respect to its claim for payment on the open
account, the Court reserves any ruling on MGZ’s motion for
attorney’s fees.

      

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